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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


 UNITED STATES OF AMERICA,

         Plaintiff,
 v.
 1.      JAYSON JEFFREY PENN,
 2.      MIKELL REEVE FRIES,
 3.      SCOTT JAMES BRADY,
                                                      No. 20-cr-00152-PAB
 4.      ROGER BORN AUSTIN,
 5.      TIMOTHY R. MULRENIN,
 6.      WILLIAM VINCENT KANTOLA,
 7.      JIMMIE LEE LITTLE,
 8.      WILLIAM WADE LOVETTE,
 9.      GARY BRIAN ROBERTS, and
 10.     RICKIE PATTERSON BLAKE,

         Defendants.

       JAYSON JEFFREY PENN’S MOTION FOR JUDGMENT OF ACQUITTAL

         Despite years of investigation, the review of roughly 16 million documents, hundreds of

 interviews, and a month of trial involving thirty witnesses, the government introduced almost no

 evidence against Mr. Penn, and certainly none capable of proving beyond a reasonable doubt that

 he knowingly and intentionally agreed to conspire. The government’s sole “percipient” witness

 to the alleged conspiracy, Robert Bryant, explained that Mr. Penn had no involvement in the

 activities about which Mr. Bryant testified and that he had no basis to think Mr. Penn agreed (or

 instructed others) to fix prices or rig bids. The government’s other witnesses were all customers

 or records custodians who mentioned Mr. Penn only to say they knew nothing about him.

         Rather, the government’s case against Mr. Penn rests exclusively on a handful of emails,

 text messages, and toll records. But even evaluated in the light most favorable to the



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 government—and even ignoring Mr. Bryant’s exculpatory testimony—those documents do not

 indicate Mr. Penn knowingly and intentionally agreed to conspire. Each email and text message

 is an internal communication between Mr. Penn and colleagues at Pilgrim’s Pride, and each

 reflects innocuous behavior by Mr. Penn that cannot support a conviction. The documents reflect

 no sharing of information between Mr. Penn and competitors, no instructions by Mr. Penn telling

 colleagues to take any suspicious actions, and no agreement between Mr. Penn and a competitor

 to do anything, let alone to fix prices or rig bids. And in nearly a decade’s worth of toll records,

 the government identified only four phone calls between Mr. Penn’s phone number and the

 phone number of another supplier. But the mere fact of those calls—the content of which the

 government left unexplained—cannot rationally support a conviction, especially since customers

 repeatedly testified that they expected suppliers to have contact with each other for many

 different and legitimate reasons.

        At bottom, the government’s case against Mr. Penn was woefully deficient, devoid of any

 testimony, document, or data suggesting that he knowingly and intentionally agreed to join the

 charged conspiracy. No rational jury could find Mr. Penn guilty beyond a reasonable doubt. Any

 conclusion to the contrary would require a string of inferences staggering in its scope and at odds

 with the law. The Court should grant Mr. Penn’s motion for judgment of acquittal.1

                                       LEGAL STANDARD

        No jury has the “power to enter an unreasonable verdict of guilty.” Jackson v. Virginia,


 1
   Mr. Penn also incorporates by reference the arguments in Mr. Kantola’s Memorandum in
 Support of Motion for Judgment of Acquittal that the government failed to prove (i) any
 conspiracy existed, but particularly the overarching conspiracy charged, (ii) any unreasonable
 restraint of trade, and (iii) any violation under the rule of reason. Doc. 876 at 5-6, 12-15 (Nov.
 29, 2021).


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 443 U.S. 307, 317 n.10 (1979). Accordingly, the Court must enter a judgment of acquittal when

 “the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). Evidence—viewed

 in the light “most favorable to the government”—is sufficient only when a “rational trier of fact

 could have found the essential elements of the crime beyond a reasonable doubt.” United States

 v. Jones, 44 F.3d 860, 864-66 (10th Cir. 1995) (reversing conspiracy conviction). No rational

 factfinder can convict based on a “mere modicum” of evidence, Jackson, 443 U.S. at 320

 (quotation omitted), or evidence equally consistent with “both innocence and guilt,” United

 States v. Ortiz, 445 F.2d 1100, 1103 (10th Cir. 1971). And evidence that rests on “speculation

 and conjecture” is insufficient because no rational jury can convict based on “a guess or mere

 possibility.” United States v. Rufai, 732 F.3d 1175, 1188 (10th Cir. 2013) (quotation omitted).

                                          ARGUMENT

        Guilt is always “individual and personal in conspiracy cases—it is not a matter of mass

 application.” United States v. Dickey, 736 F.2d 571, 583 (10th Cir. 1984). There must be “clear

 and unequivocal” evidence of “personal and individual conduct” that violates the law before a

 jury can convict a defendant. United States v. Morehead, 959 F.2d 1489, 1500 (10th Cir. 1992),

 reh’g on unrelated issues, United States v. Hill, 971 F.2d 1461 (10th Cir. 1992) (quotations

 omitted). And because the “core” of any conspiracy is an unlawful agreement, United States v.

 Esparsen, 930 F.2d 1461, 1471 (10th Cir. 1991), “it is therefore essential to determine what kind

 of agreement or understanding”—if any—“existed as to each defendant . . . determined

 individually from what was proved as to him,” United States v. Borelli, 336 F.2d 376, 384-85 (2d

 Cir. 1964); accord United States v. Record, 873 F.2d 1363, 1368 (10th Cir. 1989).




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        The government must also prove beyond a reasonable doubt that a defendant had both

 “knowledge of the anticipated consequences” of the conspiracy and the intent to effectuate the

 conspiracy’s object. United States v. U.S. Gypsum Co., 438 U.S. 422, 443 n.20, 446 (1978).

 “Knowledge alone” or “mere association” with alleged conspirators is not enough to prove a

 defendant’s joinder. United States v. Kendall, 766 F.2d 1426, 1432 (10th Cir. 1985). These

 principles require “particular[] vigilan[ce] when the government seeks to bring many individuals

 under the umbrella of a single conspiracy” since “[t]he tactic of charging many defendants with a

 single massive conspiracy is fraught with the potential for abuse,” United States v. Evans, 970

 F.2d 663, 674 (10th Cir. 1992), a proposition apparent in this case.

 I.     The Trial Testimony Indicated That Mr. Penn Did Not Conspire.

        The government called only one “percipient” witness to the alleged conspiracy, Pilgrim’s

 Pride employee Robert Bryant. Mr. Bryant unequivocally testified that he had no basis to think

 Mr. Penn agreed to fix prices or rig bids. Bryant Tr. 372:14-21.2 Mr. Bryant also had no

 knowledge of Mr. Penn (i) telling anyone to fix prices or to rig bids, (ii) instructing anyone to

 coordinate prices or bids with a competitor, or (iii) being aware that anyone was purportedly

 fixing prices or rigging bids. Id. at 372:22-373:9. Mr. Bryant explained that all of the specific

 pricing and bidding conduct to which he testified had nothing to do with Mr. Penn, since Mr.

 Penn was not involved in the relevant meetings, negotiations, strategy sessions, or telephone

 calls. Id. at 343:25-346:3. And when asked specifically who entered into a purportedly



 2
   Citations to “Bryant Tr.” refer to the official, certified excerpt of trial covering Mr. Bryant’s
 testimony. Because Mr. Penn has no other official, certified transcripts, all other transcript
 citations—referred to as “Trial Tr.”—are to the unofficial draft transcripts. Given their draft
 status, Mr. Penn defers to the Court’s recollection if it differs from the drafts in any way.


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 conspiratorial agreement and engaged in any related conduct, Mr. Bryant named several

 individuals but not Mr. Penn. Id. at 22:16-22, 41:18-23. In fact, Mr. Bryant testified that another

 Pilgrim’s Pride employee, Timothy Stiller, warned Mr. Bryant to be careful about what he put on

 his expense reports because they were being temporarily routed to Mr. Penn. Id. at 369:25-

 372:13. The only other times Mr. Bryant mentioned Mr. Penn were to note that some individuals

 ultimately reported to him—generally in response to the government’s non-sequitur questions in

 the middle of testimony about those other individuals. See, e.g., id. at 9:14-10:9, 14:13-22,

 35:14-24, 143:18-19, 157:8-12.

        The remaining twenty-nine trial witnesses were records custodians and customers.

 Records custodians testified only to the authenticity of documents and other records, and the

 government conceded that customers are not capable of speaking to an agreement between

 others. Trial Tr. 170:10-17 (Nov. 12, 2021). Still, only four customer witnesses even mentioned

 Mr. Penn. Two stated that they never met or spoke to Mr. Penn. Trial Tr. 59:1-5 (Nov. 8, 2021)

 (Telly Smith (Golden Corral)); Trial Tr. 129:24-130:3 (Nov. 17, 2021) (Joseph Brink (Fiesta

 Restaurant Group)). A third noted that Mr. Penn signed a sales contract. Trial Tr. 90:14-91:5

 (Nov. 9, 2021) (Michael Ledford (RSCS)). And the fourth included Mr. Penn on an email she

 sent to Pilgrim’s Pride about desired credit terms, but had no other contact with Mr. Penn about

 that issue and Mr. Penn had no involvement in the relevant negotiations. Trial Tr. 187:12-16

 (Nov. 17, 2021) (Melissa Hoyt (Sysco)); Trial Tr. 111:5-112:1 (Nov. 22, 2021) (same).

 II.    The Government’s Toll Records Are Not Evidence of Conspiratorial Activity.

        The government identified three telephone calls between Mr. Penn’s phone number and

 the phone number of a competitor, one of which lasted zero seconds and went to voicemail while



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 a second lasted only thirty seconds. GX10-1 at 1-2; see GX1231. It also identified one telephone

 call between Mr. Penn’s phone number and the main public number of a competitor company.

 GX10-3 at 1. But there is no evidence in the record about the substance of those calls (if any) nor

 any evidence linking those calls to the alleged actions of other individuals at any time. And the

 mere fact of a telephone call does not rationally suggest Mr. Penn knowingly and intentionally

 agreed to join the charged conspiracy, especially since customers explained suppliers have many

 reasons to be in contact. See, e.g., Trial Tr. 178:18-179:21 (Nov. 9, 2021) (Michael Ledford

 (RSCS)); Trial Tr. 91:10-92:22 (Nov. 15, 2021) (Meyer Skalak (Chick-fil-A)). This evidence is

 entirely consistent with legitimate business activity and cannot sustain a conviction. See

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 596-97 (1986) (no inference of

 conspiracy if “conduct is consistent with other, equally plausible explanations”); see also Bell

 Atl. Corp. v. Twombly, 550 U.S. 544, 554 (2007) (“proof of a § 1 conspiracy must include

 evidence tending to exclude the possibility of independent action”); Kleen Prods. LLC v.

 Georgia-Pacific LLC, 910 F.3d 927, 938-39 (7th Cir. 2018) (mere fact of competitor calls

 insufficient to send case to jury when companies had many potential reasons for contact). Any

 other conclusion would require a string of improper and unsupported conjecture about the calls,

 including their connection to pricing or bidding, a particular product, a specific customer, future

 actions, and the alleged conduct of other individuals. Direct Sales Co. v. United States, 319 U.S.

 703, 711 (1943) (“[C]harges of conspiracy are not to be made out by piling inference upon

 inference.”).

 III.   The Government’s Case Against Mr. Penn Rests on Business Emails and Text
        Exchanges That Cannot Sustain a Conviction.

        The government’s entire case against Mr. Penn rests on a handful of emails and text


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 exchanges between Mr. Penn and his colleagues at Pilgrim’s Pride. The government introduced

 almost all of those documents without any explanation from witnesses, leaving the jury with

 nothing but “speculation and conjecture” about their meaning and Mr. Penn’s purported

 connection to the charged conspiracy. Rufai, 732 F.3d at 1188. Considered in the light most

 favorable to the government, these disembodied documents cannot sustain a conviction. They

 reflect only that Mr. Penn (i) received from colleagues information about competitors’ suspected

 positions; (ii) twice asked questions to colleagues about competitors’ suspected prices; (iii)

 referenced “legality” when discussing other individuals’ actions; and (iv) discussed with

 colleagues ordinary business issues. All of the evidence against Mr. Penn is consistent with

 legitimate business behavior, which renders “impermissible” any inferences that Mr. Penn

 agreed to conspire. Llacua v. W. Range Ass’n, 930 F.3d 1161, 1179-80 (10th Cir. 2019); see

 Twombly, 550 U.S. at 554; Matsushita, 475 U.S. at 596.

        1. Passive Receipt of Information. Mr. Penn occasionally received from colleagues

 information about competitors’ suspected prices. Jason McGuire, for instance, mentioned the

 potential “range” of competitors’ offers to KFC in 2014. GX1074, GX9744, GX1075, GX1058

 (all same email thread). The source of the information is unattributed and the record nowhere

 suggests that Mr. Penn was aware of its provenance, requested the information, or instructed

 anyone to gather it.3 Equally important, the “mere possession” of competitors’ advance pricing

 information is not “evidence of concerted action to fix prices.” In re Baby Food Antitrust Litig.,



 3
   Mr. McGuire’s suggestion that Pilgrim’s be a “leader” on pricing (GX1074) is consistent with
 independent conduct, and does not suggest Mr. Penn conspired. Clamp-All Corp. v. Cast Iron
 Soil Pipe Inst., 851 F.2d 478, 484 (1st Cir. 1988) (Breyer, J.) (“One does not need an agreement
 to bring about [a] kind of follow-the-leader effect in a concentrated industry.”).


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 166 F.3d 112, 126 (3d Cir. 1999). It “makes common sense to obtain as much information as

 possible of the pricing policies and marketing strategy of one’s competitors,” and a case that

 rests on such evidence is “sorely lacking” any basis to send the claim to a jury. Id. at 117, 126.

        What is more, customer witnesses testified that suppliers received pricing information

 from a variety of innocuous sources, including the customers themselves. Michael Ledford, the

 lead purchaser for KFC’s purchasing cooperative, explained that he regularly shared competitor

 pricing out to four decimal places during bidding and negotiation processes and would share the

 exact lowest price with suppliers. Trial Tr. 103:9-104:5 (Nov. 9, 2021); Trial Tr. 171:2-15 (Nov.

 10, 2021); see also Trial Tr. 92:15-93:15, 160:13-19 (Nov. 8, 2021) (similar for Telly Smith

 (Golden Corral)); Trial Tr. 71:21-72:2 (Nov. 15, 2021) (similar for Meyer Skalak (Chick-fil-A));

 Trial Tr. 22:14-25, 111:23-112:25 (Nov. 17, 2021) (similar for Joseph Brink (Fiesta Restaurant

 Group)); GX1051 (Mr. Penn receiving feedback about negotiations in which customers

 discussed “other suppliers”); GX1247 (same).

        For example, during negotiations with Pilgrim’s Pride in 2012 for 2013 contract pricing,

 Mr. Ledford did just that. Mr. Penn received an email from Roger Austin that recommended

 Pilgrim’s lower its prices to be more competitive in light of Mr. Ledford’s detailed feedback

 about competitor pricing and positions. See GX1544. While Mr. Austin made unexplained

 reference to “having some other discussions today to get the pulse,” there is no evidence that Mr.

 Penn directed any action or had any knowledge about what Mr. Austin meant. Id.; GX1522,

 GX1523 (receiving and forwarding a spreadsheet showing impact of recommendation on

 revenue that also referenced unattributed information about competitors); see also GX1035

 (separate instance of Mr. Penn receiving spreadsheet that referenced unattributed information



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 about competitors), GX1036, GX1036-1 (spreadsheet). Put simply, the fact that Mr. Penn

 received a few emails over the course of eight years referencing potential competitor prices is

 consistent with independent conduct and cannot sustain a conviction.

        2. Questions About Competitor Positions. On two occasions over the eight years of the

 alleged conspiracy, Mr. Penn asked a colleague about competitor prices. In the context of

 negotiations with KFC in 2012, Mr. Penn asked three Pilgrim’s Pride colleagues, “Do we have

 TSN price idea?” GX1547. Notably, Mr. Penn did not instruct his colleagues to contact any

 Tyson employees, to offer a price consistent with Tyson, or to submit a bid aligned with Tyson’s.

 Equally important, Roger Austin understood Mr. Penn’s request simply to be one for market

 information, as he responded to Mr. Penn’s question by stating, “I can give you an educated

 guess” of “.96 flat.” DX E-570.

        Over a month after negotiations concluded for 2013 contract pricing with United Food

 Purchasing Co-op—a purchaser for KFC—Mr. Austin again sent Mr. Penn unsolicited and

 unattributed pricing information about Case Farms, to which Mr. Penn responded, “Figured they

 would be lower due to their need to gain access. What about rest of players?” GX1722. Nothing

 in the exchange suggests that Mr. Penn conspired; just the opposite. Mr. Penn knew nothing

 about his competitors’ positions at the time of Pilgrim’s bid. He attributed Case’s price to its

 rational and independent business decision to offer a low price to a new customer (KFC) in a

 successful bid to take volume away from KFC’s incumbent suppliers. Id. And the fact that Mr.

 Penn expressed interest in what prices other competitors had already negotiated is among the

 most basic of business behaviors. In re Text Messaging Antitrust Litig., 782 F.3d 867, 875, 879

 (7th Cir. 2015) (“Competitors in concentrated markets watch each other like hawks” and



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 factfinders should, “without suspecting illegal collusion, expect competing firms to keep close

 track of each other’s pricing.”).

        3. References to “Legality.” Mr. Penn referenced the “legality” of other individuals’

 actions on three occasions, none of which demonstrates that he knowingly and intentionally

 conspired. In the first instance, Brenda Ray, a Pilgrim’s employee, sent an email to several

 colleagues, including Mr. Penn, summarizing a conversation she supposedly had with a “friendly

 competitor” noting that it was “all over the market that Pilgrim’s is taking contract pricing up.”

 GX3037. That individual—who was never identified to Mr. Penn—thanked Ms. Ray “for taking

 the lead” and said his company was “following.” Id. On its face, Ms. Ray’s email indicated that

 Pilgrim’s had already made a decision to raise prices and, once that move became public, a

 competitor decided to follow. There is no indication that Pilgrim’s agreed to anything. Clamp-

 All, 851 F.2d at 484 (“follow-the-leader” pricing not indicative of conspiracy).

        Equally important, there is nothing in the document that rationally suggests Mr. Penn

 knew of a conspiracy or intentionally agreed to join it.4 While Mr. Penn forwarded the email to

 Jason McGuire and wrote, “FYI. Do not fwd. not exactly a legal conversation,” GX3037, there is

 no evidence that Mr. Penn asked for any coordination with a competitor, approved of Ms. Ray’s

 actions, or had any other knowledge of or involvement in the matter. It is black letter law that

 neither his “mere association with” someone who engaged in a purportedly “illegal”

 conversation nor his “knowledge” of that conduct “is enough to convict him of conspiracy. The

 evidence must also show that [Mr. Penn] knowingly joined” the conspiracy as charged. Kendall,



 4
  The “friendly competitor” portion of the email cannot be considered to prove whether any
 defendant joined the charged conspiracy. Trial Tr. 7:18-8:4 (Nov. 8, 2021).


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 766 F.2d at 1432; see United States v. Horn, 946 F.2d 738, 741 (10th Cir. 1991) (not a

 conspirator “merely by associating with conspirators known to be involved in crime”).

        This same dynamic was at play in a text message conversation between Mr. Penn and his

 colleague, Timothy Stiller. GX433-GX447. Mr. Stiller explained to Mr. Penn the state of a

 specific negotiation, the customer’s feedback about competitor pricing, and the fact that Roger

 Austin and Scott Tucker were negotiating on behalf of Pilgrim’s Pride. GX433-437. In that back

 and forth, Mr. Stiller said, “they are listening to my direction,” GX439, to which Mr. Penn asked,

 “Who is they?” and “if they is illegal don’t tell me,” GX440, GX441. Mr. Stiller clarified that

 Pilgrim’s negotiators were listening to Mr. Stiller. GX442. That quick clarification on its face

 demonstrates that there was nothing illegal afoot—just a misunderstanding.

        Mr. Penn’s expressed desire not to know about potentially “illegal” conduct—even if

 taken at face value—is not proof that he engaged in any such conduct himself, and it cannot

 stand in for proof that he knowingly and intentionally conspired. See United States v. Scotti, 47

 F.3d 1237, 1243 (2d Cir. 1995) (“[I]t is logically impossible for a defendant to intend and agree

 to join a conspiracy if he does not know that it exists.”). Sherman Act liability attaches only if

 the defendant had both a “meeting of the minds,” i.e., “conscious commitment to a common

 scheme designed to achieve an unlawful objective,” Monsanto Co. v. Spray-Rite Serv. Corp., 465

 U.S. 752, 764 (1984) (quotation omitted), and the intent to effectuate the unlawful purposes of

 the conspiracy, Gypsum, 438 U.S. at 443 n.20. Neither is established by these documents.

        Finally, Mr. Penn made a statement to his boss, William Lovette, that a competitor “was

 not listening to [Mr. Lovette’s] illegal spiel on forward pricing” during remarks at the National

 Chicken Council, a trade association. GX3025. Even if read literally, Mr. Penn’s statement



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 would only describe another individual’s public signaling, a theory of liability the Court

 excluded as unduly prejudicial. Doc. 603 at 5-6. The fact that Mr. Penn also mentions

 unattributed information about a competitor’s submitted bid is not proof that Mr. Penn

 knowingly and intentionally conspired. The competitor’s price was very different from Pilgrim’s

 price, the possession of competitor information is not indicative of conspiracy, and the jury

 would, in any event, have to engage in improper speculation to attribute the information to any

 discussion between Mr. Penn and a competitor, let alone to an unlawful agreement. The record is

 clear that customers often shared exact pricing information of one supplier with another supplier,

 especially when, as in this instance, the competing supplier’s price was lower. Supra at 7-9.

        4. Regular Business Behavior. The remainder of the evidence purportedly involving Mr.

 Penn either reflects facially innocuous business behavior or no action by Mr. Penn at all. On

 February 18, 2017, for example, a colleague sent Mr. Penn an unsolicited text message asking if

 Mr. Penn wanted an update on KFC negotiations. GX1855. Regardless of what that colleague

 was doing on that day, there is no evidence—not a single email, text message, or toll record—

 that Mr. Penn actually discussed the KFC negotiation with that colleague near that time.

        The government also introduced an October 2014 text message from Mr. Penn to his

 colleague, Jason McGuire, recounting Mr. Penn’s statements at a board meeting where he

 praised Mr. McGuire for “leading the industry to higher ’15 prices in FFS and $75M higher YoY

 pricing.” GX940. Praising a colleague to the board of directors for doing a good job is not

 indicative of a conspiracy or of Mr. Penn’s knowing and intentional agreement to join it. In fact,

 the record is replete with evidence that the 2015 price increases were the result of market

 dynamics. James Olson, the CEO of KFC franchisee Harman Management Corporation,



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 explained that in 2014 suppliers were rapidly moving from small birds to large birds because of

 better profit margins. Trial Tr. 116:14-117:6 (Oct. 27, 2021). That shift threatened to disrupt

 KFC’s finances, business processes, and preferred supply, costing KFC significant revenue. Id.

 at 116:14-117:6, 186:19-187:4. Accordingly, Mr. Olson acknowledged that natural market

 conditions were poised to create a historic rise in prices. Id. at 211:8-15. Other customers agreed.

 See, e.g., Trial Tr. 20:15-23:8 (Nov. 5, 2021) (Sara Fisher (RSCS)); Trial Tr. 68:16-69:16, 131:2-

 13 (Nov. 8, 2021) (Telly Smith (Golden Corral)); Trial Tr. 14:4-7 (Nov. 17, 2021) (Joseph Brink

 (Fiesta Restaurant Group)). The fact that Mr. Penn praised a colleague for achieving higher

 prices is consistent with normal business behavior and cannot sustain a conviction. Driessen v.

 Royal Bank Int’l, 2015 WL 1245575, at *3 (D. Conn. Mar. 18, 2015) (“setting one’s own profit-

 maximizing price is entirely lawful under the antitrust laws” (quotation omitted)).

        Neither can Mr. Penn’s conversation with Mr. McGuire in August 2014, during which

 Mr. Penn wrote that “a few owners of small bird companies thank[ed] us via me for getting our

 act together.” DX E-873, DX E-874 (original email and attachment), GX1056 (remainder of

 email chain). To read any kind of conspiratorial meaning into the statement would require the

 jury to infer the unidentified competitors were conspirators, that Pilgrim’s got its “act together”

 pursuant to an agreement, that getting its “act together” had something to do with price fixing or

 bid rigging, and that Mr. Penn was involved in the unidentified action in some unidentified way.

 No evidence supports this impermissible inference stacking. Direct Sales, 319 U.S. at 711.

        The balance of the evidence regarding Mr. Penn indicates that he generally sought to

 make money for Pilgrim’s and to compete vigorously, neither of which suggests that he

 knowingly and intentionally conspired. See GX449-51, GX9707-09, GX9711-13 (internal text



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 exchange discussing setting a customer’s price by giving them “market price plus the special A-

 Hole Premium” in light of “Brand Promise” (emphasis added)); GX448 (update about customer

 negotiations); GX2000 (discussing public financial analyst report about Tyson and the need for

 Pilgrim’s to monitor competitors to learn from “successful” strategies); GX2001 (refusing to

 cover competitor short); GX2002 (same); GX2005 (same). There is nothing in these basic

 business activities indicating Mr. Penn conspired. In re Text Messaging, 782 F.3d at 879

 (competitors lawfully “find it in their self-interest to imitate [competitor] behavior rather than try

 to undermine it”); Driessen, 2015 WL 1245575, at *3 (setting profit-maximizing prices lawful).

                                               *****

        The government fell far short of proving beyond a reasonable doubt that Mr. Penn

 knowingly and intentionally conspired. All of the trial testimony indicated Mr. Penn did not

 collude. And all of the documents upon which the government’s case rests are consistent with

 ordinary business activity by Mr. Penn. Considered as a whole and in the light most favorable to

 the government, no rational jury could convict Mr. Penn based on the record against him.

        The government tries to paper over this failure of proof with “summary” exhibits.5 It

 groups the handful of innocuous business documents and toll records involving Mr. Penn with

 evidence about other individuals and other actions in an effort to induce the jury into finding

 meaning, relationships, and connections not otherwise proved against Mr. Penn. But there is no

 evidence that Mr. Penn had knowledge of or involvement in any of those other actions. See Trial

 Tr. 32:5-7 (Nov. 24, 2021) (instructing that “summaries” are not themselves evidence). In fact,



 5
  The government mentions Mr. Penn in “summary” exhibits GX4-1, GX10-1, GX10-2, GX10-3,
 GX14-3, GX18-3, and GX20-1.


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 the government’s reliance on the “summaries” underscores the Tenth Circuit’s concern that when

 the government “bring[s] many individuals under the umbrella of a single conspiracy” there is

 “potential for abuse” by using evidence about “other alleged coconspirators” to keep the jury

 from “differentiat[ing] among particular defendants.” Evans, 970 F.2d at 674.

        Yet a rational jury can only convict based on “clear and unequivocal” evidence that Mr.

 Penn’s “personal and individual conduct” violated the Sherman Act. Morehead, 959 F.2d at

 1500. That assessment must be “determined individually from what was proved as to” Mr. Penn.

 Borelli, 336 F.2d at 385. And the record against Mr. Penn cannot sustain a conviction—there is

 no evidence that he knew of any conspiracy, was aware of its objectives, intentionally sought to

 effectuate them, or agreed to any price fixing or bid rigging. A jury could only convict Mr. Penn

 if it stitched together a series of impermissible inferences, unsupported by any evidence, about

 his knowledge, intent, actions, and relationships. Direct Sales, 319 U.S. at 711; United States v.

 Summers, 414 F.3d 1287, 1295-97 (10th Cir. 2005) (reversing conspiracy conviction).

                                          CONCLUSION

        The Court should grant Mr. Penn’s motion for judgment of acquittal.



        Dated: November 29, 2021                      Respectfully submitted,

                                                       s/ Michael F. Tubach
                                                      Michael F. Tubach
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                                CERTIFICATE OF SERVICE

         I hereby certify that on November 29, 2021, I electronically filed the foregoing document

 with the Clerk of Court using the CM/ECF system, which will send notification of this filing to

 all listed parties.


         Dated: November 29, 2021                    s/ Michael F. Tubach

                                                     Michael F. Tubach




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